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                     UNITED STATES DISTRICT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )       Case No. 21-cr-00040-TNM
                                 )
DAVID MEHAFFIE,                  )
                                 )
                                 )
               Defendant         )
                                 )



         DEFENDANT DAVID MEHAFFIE’S MEMORANDUM
       REGARDING ELEMENTS OF THE CHARGED OFFENSES




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      Defendant David Mehaffie is charged only in Counts 12, 34, 35, 52 and

53 of the Fifth Superseding Indictment.

      The following are the elements of each charged offense:



                                     Count 12

         18 U.S.C. § § 111 and 2 – Assault, and Aiding and Abetting

      There are no allegations or evidence that Mr. Mehaffie personally

assaulted any law enforcement officer. Count 12 of the Fifth Superseding

Indictment charging him with a violation of § 111 does not identify any victim,

nor is there any evidence in discovery of Mr. Mehaffie himself committing any

assault. The theory of liability as it pertains to Mr. Mehaffie is based on “aiding

and abetting.”

      “Aiding and abetting” liability under 18 U.S.C. § 2 is premised on the

finding of the following elements:

            (1) The specific intent to facilitate the commission of a specific
      crime by another;

            (2) Guilty knowledge on the part of the accused;

            (3) That the offense was being committed by someone; and

             (4) That the defendant assisted or participated in the commission
      of the offense by another.”

United States v. Harris, 959 F.2d 246 (D.C.Cir.1992).

      The critical inquiry for this Court is whether there is evidence to find that

Mehaffie "'in some sort associate[d] himself with the venture, that he

participate[d] in it as in something that he wishe[d] to bring about, that he

[sought] by his action to make it succeed.’" United States v. Poston, 902 F.2d


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90, 93 (D.C. Cir. 1990)(quoting Nye & Nissen v. United States, 336 U.S. 613,

619, 69 S. Ct. 766, 770, 93 L. Ed. 919 (1949), quoting United States v. Peoni,

100 F.2d 401, 402 (2d Cir. 1938) (L. Hand, J.)).

      To be guilty of violating § 111 based on an “aiding and abetting” theory,

the elements of the offense are as follows:

             (1) Some other person forcibly assaulted a law enforcement officer
      in violation of 18 U.S.C. § 111(a) or (b);

           (2) Did Mr. Mehaffie know of the intention or plan of that person to
      assault the law enforcement officer prior to the assault taking place?

            (3) Did Mr. Mehaffie take some action while possessing that
      knowledge in order to assist in the commission of that assault by that
      other person?

           (4) By taking that action, did Mr. Mehaffie intend to cause the
      assault to take place?

      It is not enough that Mr. Mehaffie was in the location where the assault

took place or that Mr. Mehaffie was aware that the assault would take place

before it happened. United States v. Salamanca, 990 F.2d 629, 638 (D.C. Cir.

1993)(“It is well settled that mere presence at the scene of a crime and

awareness that a crime is being committed is insufficient to support a

conviction for aiding and abetting.”).




                                    Count 34



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     18 U.S.C. § 1512(c) and 2 – Obstruction of an Official Proceeding

      The elements of a violation of 18 U.S.C. § 1512(c) are as follows:

             (1) Did Mr. Mehaffie attempt to or did he obstruct or impede an
      official proceeding?

            (2) Did Mr. Mehaffie intend to obstruct or impede the official
      proceeding?

           (3) Did Mr. Mehaffie act knowingly, with awareness that the
      natural and probable effect of his conduct would be to obstruct or
      impede the official proceeding?

            (4) Did Mr. Mehaffie acted corruptly?

      The elements of obstructing an official proceeding based on aiding and

abetting others in committing the offense are:


            (1) Others committed obstruction of an official proceeding by
            committing each of the elements of the offense charged.

           (2) Did Mr. Mehaffie know that obstruction of an official proceeding
      was going to be committed or was being committed by others?

            (3) Did Mr. Mehaffie perform an act or acts in furtherance of that
      offense?

            (4) Did Mr. Mehaffie knowingly perform that act or acts for the
      purpose of aiding, assisting, soliciting, facilitating, or encouraging others
      in committing the offense of obstruction of an official proceeding?

            (5) Did Mr. Mehaffie commit that act or acts with the intent that
      others commit the offense of corruptly obstructing an official proceeding?




                                    Count 35



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              18 U.S.C. § 231(a)(3) – Civil Disorder

The elements of a violation of 18 U.S.C. § 231(a)(3) are as follows:

      (1) Did Mr. Mehaffie knowingly commit an act or attempt to commit
an act?

      (2) In committing or attempting to commit that act, did Mr.
Mehaffie intend to obstruct, impede, or interfere with one or more law
enforcement officers?

       (3) At the time of Mr. Mehaffie’s actual or attempted act, were the
law enforcement officer or officers engaged in the lawful performance of
their official duties incident to and during a civil disorder?

      (4) Did the civil disorder in any way or degree obstruct, delay, or
adversely affected either commerce or the movement of any article or
commodity in commerce or the conduct or performance of any federally
protected function?




                             Count 52



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 40 U.S.C. § 5104(e)(2)(D) – Disorderly or Disruptive Conduct

The elements of a violation of 40 U.S.C. § 5104(e)(2)(D) are as follows:

      (1) Did Mr. Mehaffie engage in disorderly or disruptive conduct in
any of the United States Capitol Buildings?

      (2) Did Mr. Mehaffie do so with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of
Congress?

      (3) Did Mr. Mehaffie act willfully and knowingly?




                             Count 53



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            40 U.S.C. § 5104(e)(2)(F) – Act of Physical Violence

     The elements of a violation of 18 U.S.C. § 5104(e)(2)(F) are as follows:

           (1) Did Mr. Mehaffie engage in an act of physical violence;

           (2) Did Mr. Mehaffie do so in the Grounds or any of the Capitol
     Buildings?

           (2) Did Mr. Mehaffie act willfully and knowingly?




Dated: August 24, 2022                     Respectfully submitted,
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